Case 08-13141-BLS Doc 7800-2 Filed 02/04/11 Page 1of 10

Exhibit B

{00483973:v1}

13241344.3
Case 08-13141-BLS Doc 7800-2 Filed 02/04/11 Page 2 of 10

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: : Chapter 11
TRIBUNE COMPANY et al., : Case No. 08-13141 (KIC)
Debtors. : (Jointly Administered)

Re: Docket Nos. 7512, 7555 & _

ORDER APPROVING STIPULATION CONCERNING AURELIUS CAPITAL
MANAGEMENT, LP’S MOTION (D.I. 7512) TO COMPEL JPMORGAN TO
PRODUCE DOCUMENTS PURSUANT TO BANKRUPTCY RULES 9014
AND 7037 AND FEDERAL RULE OF CIVIL PROCEDURE 37

Upon review and consideration of the Stipulation Concerning Aurelius Capital
Management, LP’s Motion (D.I. 7512) to Compel JPMorgan to Produce Documents Pursuant to
Bankruptcy Rules 9014 and 7037 and Federal Rule of Civil Procedure 37 (the “Stipulation”),
attached hereto as Exhibit 1, and sufficient cause appearing therefore, it is hereby ORDERED,
ADJUDGED AND DECREED as follows:

1. The Stipulation is hereby APPROVED.

2. The parties to the Stipulation are hereby authorized to take any and all
actions reasonably necessary to effectuate the terms of the Stipulation.

3. This Court shall retain jurisdiction over any and all matters arising from or

related to the implementation or interpretation of the Stipulation or this Order

Dated: February , 2011
Wilmington, Delaware THE HONORABLE KEVIN J. CAREY
UNITED STATES BANKRUPTCY JUDGE

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Case 08-13141-BLS Doc 7800-2 Filed 02/04/11 Page 3 of 10

Exhibit 1

{00483973:v1}

13241344.3
Case 08-13141-BLS Doc 7800-2 Filed 02/04/11 Page 4 of 10

UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
TRIBUNE COMP ANY, et al., Cases No. 08-13141 (KJC)
Debtors. Jointly Administered
Re: Docket Nos. 7512 & 7555

STIPULATION CONCERNING AURELIUS CAPITAL MANAGEMENT,
LP’S MOTION (D.L. 7512) TO COMPEL JPMORGAN TO PRODUCE
DOCUMENTS PURSUANT TO BANKRUPTCY RULES 9014 AND 7037
AND FEDERAL RULE OF CIVIL PROCEDURE 37

WHEREAS Aurelius Capital Management, LP, on behalf of its managed entities
(“Aurelius”) filed a motion (D.I. 7512) to compel JPMorgan Chase & Co. (“JPMorgan”)
to produce certain FCC-Related Documents (the “Motion”);

WHEREAS JPMorgan has objected to the Motion (D.I. 7555);

WHEREAS the parties have negotiated a settlement that fully resolves the Motion
on the terms and conditions set forth in this Stipulation;

IT IS NOW HEREBY STIPULATED AND AGREED:

Subject to the following paragraphs of this Stipulation, JPMorgan will produce
the following documents to Aurelius relating to FCC matters (“FCC Discovery”):

1. With respect to Freedom Communications Holdings, Inc. and Journal

Register Company, the Certificate of Incorporation, Bylaws, Stockholders
Agreement, Limited Liability Company Agreement, Partnership
Agreement, or similar documents, to the extent the same (x) are within

JPMorgan’s possession, and (y) show:

{00483979;v1}

13240679.2
Case 08-13141-BLS Doc 7800-2 Filed 02/04/11 Page 5 of 10

(a) the governance structure of such entity and
any governance or management authority or rights of JPMorgan,
including director designation or nomination nghts; or

(b) the Equity Interest! or Debt Interest” held or
managed by J PMorgan;* and

(c) to the extent that such documents do not
reflect the information called for in Paragraph 1(b), a statement
indicating whether JPMorgan owns a 5% or greater Equity Interest
or more than a 33% Debt Interest, and, with respect to any 5% or
greater Equity Interest, whether such interest is between 5% and
25%, exceeds 25% but is not more than 50%, or exceeds 50% .

2. With respect to Gannett Co., Inc. (“Gannett”), reports filed with the
Securities and Exchange Commission, Prospectuses, Annual Reports, or
similar documents, to the extent the same (x) are within JPMorgan’s
possession, (y) are not restricted from disclosure (including by any
applicable confidentiality provisions or agreements), and (z) show:

(a) the identity of the JPMorgan entities that

hold an Equity Interest in Gannett; or

' “Equity Interest” means any current direct or indirect ownership interest, excluding
any contingent or future interest such as an option or warrant.

“Debt Interest” means any debt.

3 For purposes of paragraphs 1-4, “JPMorgan” means JPMorgan or any affiliate of
JPMorgan.

{00483979;v1} 2

13240679.2
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{00483979;v1}

13240679.2

Case 08-13141-BLS Doc 7800-2 Filed 02/04/11 Page 6 of 10

(b) whether any such entity is an investment
company, as defined in 15 U.S.C. § 80a-3; or

(c) the identity of the investment advisor for
each such investment company and the relationship of such
investment advisor to JPMorgan; and

(d) to the extent that such documents do not
reflect the information called for in Paragraphs 2(a)-(c), a
statement setting forth such information.

With respect to the entities set forth on Exhibit A hereto,

(a) a statement indicating whether JPMorgan
owns a 5% or greater Equity Interest or more than a 33% Debt
Interest, and, with respect to any 5% or greater Equity Interest,
whether such interest is between 5% and 25%, exceeds 25% but is
not more than 50%, or exceeds 50%; and

(b) for any such entity in which JPMorgan holds
such an interest, the Certificate of Incorporation, Bylaws,
Stockholders Agreement, Limited Liability Company Agreement, ~
Partnership Agreement, or similar documents, to the extent the
same (x) are within JPMorgan’s possession, (y) are not restricted
from disclosure (including by any applicable confidentiality
provisions or agreements), and (z) show:

(i) the governance structure of

such entity and any governance or management authority or

3
{00483979;v1}

13240679.2

Case 08-13141-BLS Doc 7800-2 Filed 02/04/11 Page 7 of 10

rights of JPMorgan, including director designation or
nomination rights; or
(ii) the Equity Interest or Debt

Interest held or managed by JPMorgan.
Documents that show the terms and conditions of any delegation of
authority to the individuals named in the FCC Applications as handling
the day-to-day management of JPMorgan Chase Bank, N.A.’s holdings in
Reorganized Tribune, or confirmation that no such documents exist.
Provision of the information set forth herein will resolve Aurelius’ Motion
to Compel (D.I. 7512), which Aurelius shall promptly withdraw with
prejudice. Any documents and information that JPMorgan may produce
in connection with this resolution are subject to the protections of the
Depository Order (D.I. 2858); as provided by the Depository Order and
Acknowledgement thereto, Aurelius agrees to use the documents “solely
in connection with the Cases.” (Acknowledgement, § 3.) Pursuant to the
Depository Order and Acknowledgment, certain documents produced by
JPMorgan may be designated “Financial Institution Highly Confidential,”
“Highly Confidential — Attomeys’ Eyes Only,” or “Confidential.”
Aurelius reserves its rights pursuant to the Depository Order and
Acknowledgement to challenge such designations, but will abide by the
terms of the Depository Order and Acknowledgment applicable to such
documents and, absent further order of the Court, will not use such

documents in a bankruptcy or other court filing unless filed under seal.

4
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13240679.2

Case 08-13141-BLS Doc 7800-2 Filed 02/04/11 Page 8 of 10

(Acknowledgment, 4 7) In addition, absent further order of the Court,
Aurelius agrees not to raise, utilize, provide or discuss any such
documents (as identified in the preceding sentence), or facts learned
therein, with the FCC, except to the extent such documents or facts are
otherwise publicly available (other than by means of a violation of this
Stipulation and Order). JPMorgan reserves all of its nights as set forth in
JPMorgan’s Objections and Responses to Aurelius’ Second Request for
the Production of Documents.

The statements provided pursuant to this Stipulation shall be based on
JPMorgan’s knowledge, information, and belief, formed after a
reasonable, good faith inquiry. JPMorgan will use its reasonable best
efforts to produce the foregoing documents on a rolling basis by February
11, 2011, and will in any event comply with its obligation under the Case
Management Order to complete production within 15 days of this Order.
To the extent that Aurelius wishes to submit a report on behalf of an FCC
expert, such report shall be due on February 14, 2011 by 1 p.m. EST. To
the extent that JPMorgan or any other proponent of the
Debtor/Committee/Lender Plan wishes to submit a rebuttal report on

behalf of an FCC expert, such report shall be due on February 25, 2011.
Case 08-13141-BLS Doc 7800-2 Filed 02/04/11 Page 9 of 10

Dated: February 4, 2011
Wilmington, Delaware

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Case 08-13141-BLS Doc 7800-2 Filed 02/04/11 Page 10 of 10

EXHIBIT A

Affiliated Media Inc.

Sun-Times Media Holdings LLC

ASP Westward, L.P.

Seattle Times Company

Swift Newspapers Inc.

Halifax Media Acquisition Inc.

American Consolidated Media, L.P.

GateHouse Media Inc

Fisher Communications Inc.

Black Crow Media Group

Newsweb Corporation

Cherry Creek Radio LLC

Citadel Broadcasting

Grupo Radio Centro

Entravision Communications Corp

ION Media Networks Inc.

Inner City Broadcasting Corporation

Lazer Broadcasting Corporation

Liberman Broadcasting Inc.

Max Media LLC

Morris Communications Company

Midwest Communications Incorporated

Millennium Radio Group LLC

Nassau Broadcasting

NextMedia Group Inc.

NRG Media LLC

Philadelphia Media Network, Inc.
[Philadelphia Inquirer]

Radio One Inc.

Saga Communications Inc

Salem Communications Corporation

Sinclair Broadcast Group Inc.

Spanish Broadcasting Systems

Townsquare Media LLC

TTBG LLC [former Pappas stations]

Broadcasting Media Partners [Univision]

Vox Media

WRNN-TV

ZGS Communications

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